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             Electronically Filed by Superior Court of California, County of Orange, 05/19/2022 05:26:29 PM.
   30-2022-01260527-CU-WT-NJC - ROA # 4- DAVID H. YAMASAKI, Clerk of the Court By Katie Trent, Deputy Clerk.

                                                                                                                                                                       00
                                                   SUMMONS                                                  I                   FOR COURT USE ONLY
                                                                                                                             (SOLO PARA USO DE LA CORTE)
                                            (CITi4 CION JUDICIAL)
    NOTICE TO DEFENDANT:
    (AVISO AL DEMANDADO):

    THE BOEING COMPANY, a Delaware corporation; and DOES 1
    through 150, inclusive
    YOU ARE BEING SUED BY PLAINTIFF:
    (LO ESTA DEMANDANDO EL DEMANDANTE):

    MICHAEL GRIZZLE, an individual

     NOTICEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
     below.
        You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
     served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper ]egal form if you want lhe court to hear your
     case. There may be a court form that you can use for your response. You can find these court forms and more information at the Califomia Courts
     Online Self-Help Center (www.courtinfo.ca.gov/selthelp), your county law library, or the courthouse nearest you. If you cannot pay the fiiing fee, ask
     the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
     may be taken without further waming from the court.
        There are othe.r legal requirements. You may want to cal] an attorney right away. If you do not know an attomey, you may want to call an attomey
     referral service. If you cannot afford an attorney, you may be eligib]e for free legal services from a nonprofit legal services program. You can locate
     these nonprofit groups at the Ca]ifornia Legal Services Web site (www.lawhelpcaiifomia.org), the Califomia Courts Online Self-Help Center
     (www.courtinfo.ca.gov/selthelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
     costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
    IAVISOI Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versf6n. Lea la informacibn a
    continuaci6n.
        Tiene 30 DIAS DE CALENDAR/O despues de que le entreguen esta citaci6n y papeles /ega/es para presentar una respuesta por escrito en esta
    coite y hacer que se entregue una copia al demandante. Una carta o una llamada telefbnica no lo protegen. Su respuesta por escritc tiene que estar
    en formato legal conecto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
    Puede encontrar estos formularlos de /a corte y mbs informacibn en el Centro de Ayuda de las Cortes de Califomia (www.sucorte.ca.gov), en la
    biblioteca de leyes de su condado o en la corte que le quede mis cerca- Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte
    que le de un formularfo de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder e/ caso por incumplimiento y la corte /e
    podre quitar su sueldo, dinero y bienes sin mas advertencia.
       Hay otros requisitos lega/es. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede I)amar a un servicio de
    remisi6n a abogados. Si no puede pagar a un abogado, es posib/e que cumpla con los requisitos para obtener servlcios legales gratuitos de un
    programa de servicios lega/es sin fines de lucro. Puede encontrar estos gnipos sin frnes de lucro en el sitlo web de California Legal Services,
    (www.lawhelpcalifomia.org), en el Centro de Ayuda de las Cortes de Californta, (www.sucorte.ca.gov) D poniendose en contacto con la corte o el
    colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a rec/amar /as cuotas y los costos exentos por imponer un gravamen sobre
    cua/quier recuperacl6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
    pagar el gravamen de la corte antes de que la corte pueda desechar el caso,

   The name. and address of the court is: Orange County Superior
                                                                 Court                                          (Numero deBCaso): 30-2022-01260527-CU-Vr-N)C
   (EI nombre y direcci6n de la corte es): North Justice Center
                                                                                                                                   Judge Donald F. Gaffney
    Orange County Superior Court 1275 North Berkeley Avenue
                                            Fullerton, CA 92832
                             Xjkkx)00"
   The name, address, and telephone number of plaintiffs attomey, or plaintiff without an attomey, is:
   (EI nombre, la dfreccibn y el nfimero de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
    Darren J. Campbell, Chris M. Heikaus Weaver, 2030 Main St., Ste. 1300, Irvine, CA 92614, (949) 236-4626
                0511912022
   DATE: .                                                                         Clerk, by                             ~                                    Deputy
   (Fecha)                            DAVID H. YAMASAKI. Clerk ofthe Court         (Secretario)                                                              (Adjunto)
   (For proof of servfce of this summons, use Proof of Service of Summons (form POS-010).)
   (Para prueba de entrega de esta citati6n use el formularfo Proof of Service of Summons, (POS-010)).                           Kati e Tre nt
                                     NOTICE TO THE PERSON SERVED. You are served
                                    1.       as an individual defendant.
                                     2.      as the person sued under the fictitious name of (specify):


                                               3, =      on behalf of (specify):THE BOEING COMPANY, a Delaware corporation
                                                  under: 0        CCP 416.10 (corporation)                0             CCP 416.60 (minor) ~
                                                         ~        CCP 416.20 (defunct corporation)                      CCP 416.70 (conservatee)
                                                         0        CCP 416.40 (association or partnership) Q             CCP 416.90 (authorized person)
                                                          [Q     other (specify):
                                              4. Q       by personal delivery on (date):
                                                                                                                                                               Paoe 1 of 1
    Form Adapted for Mandatory Use                                           SUMMONS                                                 Code of Civil Prooedure §§ 412.20, 455
      Judicial Coundl af California                                                                                                                    www.caurtin/o.ca.gov
     SUM-100 [Rev. July 1, 2009]




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              Electronically Filed by Superior Court of California, County of Orange, 05/19/2022 05:26:29 PM.
             1260527-CU-WT-NJC - ROA # 2- DAVID H. YAMASAKI, Clerk of the Court By Katie Trent, Deputy Clerk.




        Darren J. Campbell, Bar No. 223088
    1   Chris M. Heikaus Weaver, Bar No. 231907
    2   Aitken Campbell Heikaus Weaver, LLP
        2030 Main St., Suite 1300
    3   Irvine, California 92614
        Telephone: (949) 236-4626
    4   Facsimile: (949) 608-1562
    5
        Attorneys for Plaintiff
    6   MICHAEL GRIZZL'E

    7                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                          COUNTY OF ORANGE
    8
    9   MICHAEL GRIZZLE, an individual,                 ) Case No. 3 g-2 02 2-g 12 6 0 5 2 F-C U-wlT-N J C
                                                        )
   10            Plaintiff,                             ) COMPLAINT AND DEMAND FOR JURY
                                                        )                      TRIAL
   11   V.                                              )
                                                        ) 1. RETALIATION (GOVT CODE §§ 12940 ET
   12
        THE BOEING COMPANY, a Delaware                  )    SEQ.)
   13   corporation; and DOES 1 through 150,            ) 2. WRONGFUL TERMINATION IN
        inclusive,                                      )    VIOLATION OF PUBLIC POLICY
   14                                                   ) 3. UNLAWFUL BUSINESS PRACTICES
                 Defendants.                            )    (BUSINESS & PROFESSIONS CODE §§
   15                                                   )    17200 ET SEQ.)
   16                                                   )            Assigned for AII Purposes
   17
                                                                      Judge Donald F. GafFnay
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                               COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL




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    1                                          GENERAL ALLEGATIONS

    2 ill       At all times material to this Complaint, Plaintiff Michael Grizzle (hereinafter "Plaintiff') was a

    3   resident of Orange County, California.

    4   2.      At all times material to this Complaint, Defendant The Boeing Company (hereinafter "Boeing")

    5   was a California corporation with a principal place of business in Huntington Beach, California and doing

    6   business in Orange County, California.

    7   3.      Plaintiff is informed and believes, and thereon alleges, that Defendants, and each, of them,

    8   including those designated herein as DOES 1 through 150, inclusive, are responsible in some manner for

    9   the occurrences and happenings, as well as such acts and omissions as are more fully alleged herein, and

   10   that Plaintiff's injuries, damages and losses, as alleged below, were and are the direct and proximate result

   11   of the actions or omissions of said Defendants.

   12   4.      Furthermore, each of the Defendants are sued as the principals, agents, partners, servants,

   13   employees, officers, directors, subsidiaries, corporate affiliates, alter egos, joint employers conspirators and

   14   co-conspirators, joint ventures of each of the remaining Defendants. Each of the Defendants were acting

   15   within the course, scope and authority of such relationship, and with the knowledge, consent, approval or

   16   ratification of the remaining Defendants.

   17   5.      DOES 1 through 150 are sued under the fictitious names pursuant to the Code of Civil Procedure

   18   section 474. Plaintiff is informed and believes and on that basis alleges, that each Defendant sued under

   19   such fictitious names is in some manner responsible for the wrongs and damages as alleged below, and in

   20   so acting was functioning as the agent, servant, partner and employee of the other Defendants and in doing

   21   the actions mentioned below was acting within the course and scope of his or her authority as such agent,
                                                                                                       ~
   22   servant, partner, and employee with the permission and consent of the other Defendants.         i
   23   6.      In November 1995, at the age of 21, Plaintiff began working for McDonnell Douglas (which later

   24   merged with Boeing) as a Plant Protection Officer/Fire Fighter.

   25   7.      Plaintiff's performance as a fire fighter was always exceptional. During his employment with

   26   Boeing, Plaintiff never received a negative performance review. In fact, Plaintiff achieved the highest

   27   seniority possible as a Fire Fighter in 2010.

   28   8.      Plaintiff and Mark Anthony Williams were co-workers since approximately 1995 and worked the

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                              COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL




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    .1   same shift together from 2010-2017. Mr. Williams was originally employed.by Boeing as a Plant

     2   Protection/Security Officer and in approximately 2010 continued his employment as a Fire Protection

     3   Officer.

    4 IF~        During their employment, Plaintiff and Mr. Williams' relationship was so close that they would

     5   often share personal conversations both at work and while off duty.

    6    10.     Unbeknownst to Plaintiff, beginning in or around 2014, Mr. Williams began to surreptitiously, and

    7    without the consent of all involved, record locker room and lunchtime conversations, including private

     8   conversation in which Plaintiff was a participant.

     9   11.     In early 2019, Plaintiff was informed that Mr. Williams had made a complaint to Boeing regarding

   10 I race-based discrimination and harassment. In March 2019, Boeing conducted an investigation into Mr.
   11    Williams' allegations. Plaintiff fully cooperated in Boeing's investigation. As part of that investigation,

   12    Boeing asked Plaintiff to sign a statement concerning his recollections of the events relating to Mr.

   13    Williams' allegations of discrimination and harassment.

   14    12.     Plaintiff did his best to provide Boeing with a full account of his recollections regarding the

   15    allegations made by Mr. Williams. At the time of his initial interview in March 2019, Plaintiff did not

   16    recall anyone ever using the "N" word or any derivation of that word in his presence in the workplace.

   17    Moreover, during the investigation, Boeing did not provide Plaintiff with any documentation or recordings

   18    that would assist Plaintiff in refreshing his recollection of the use of such language in the workplace.

   19    13.     On or about August 8, 2019, after conducting its investigation regarding Mr. Williams' allegations,

   20    Boeing provided Plaintiff with a written warning conceming his behavior vis-a-vis Mr. Williams based on

   21    its March 2019 investigation.

   22    14.     On or about August 6, 2019, Plaintiff is informed and believes and based thereon alleges that Mr.

   23 I Williams filed a lawsuit against Boeing in which Plaintiffwas also named as a defendant. Plaintiff is
   24    further informed and believes and based thereon alleges that shortly after filing the lawsuit, Mr. Williams

   25    dismissed Plaintiff as a defendant on August 28, 2019. However, Mr. Williams' claims against Boeing

   26    continued.

   27    15.    As Mr. Williams' case continued through litigation, Boeing's counsel interviewed Plaintiff on or

   28    about January 15, 2020. After participating in that interview with Boeing's counsel in connection with Mr.

                                                                3
                               COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL




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    1    Williams' FEHA claims, Boeing later disciplined Plaintiff by placing him on a leave of absence without

    2    pay for two days issued on June 12, 2020.

    3    16.     On May 10, 2021, Mr. Williams' attorney deposed Plaintiff. As required by the oath that he took,

    4    Plaintiff told the truth regarding his recollection of conversations and events that had occurred almost years

    5    previously. Indeed, when Mr. Williams' attorneys asked him specific questions regarding topics from the

    6    recordings that Plaintiff had only recently heard, Plaintiff testified truthfully regarding the substance of

    .7   those recordings.

    8    17.     Plaintiff is informed and believes and based thereon alleges that everything that Plaintiff testified

    9    about on May 10, 2021 was known to Boeing prior to the deposition and was also known to Boeing prior

   10    to Boeing implementing discipline against Plaintiff on or about June 12, 2020.

   11    18.     Following the completion of his deposition, which specifically related to the allegations made by

   12    Mr. Williams regarding his claims of discrimination and harassment under California's FEHA, Boeing

   13    terminated Plaintiff's employment on September 15, 2021. Plaintiff is informed and believes and based

   14    thereon alleges that Boeing terminated his employment as a direct result of the truthful testimony he

   15    provided concerning the allegations asserted by Mr. Williams regarding his claims of discrimination and

   16    harassment under California's FEHA.

   17    19.     Since September 15, 2021, Plaintiff has been unable to find new employment. Indeed, due to

   18    Boeing wrongfully terminating his employment, Plaintiff is unable to obtain new employment with local

   19    city or county jobs.

   20                             EXI3AUSTION OF ADMINISTRATIVE REMEDIES

   21    20.     On or about April 11, 2022, Plaintiff had a complaint filed against Defendants with California's

   22    Department of Fair Employment and Housing ("DFEH") alleging multiple violations of California's Fair

   23    Employment and Housing Act ("FEHA"). Plaintiff immediately received a Right To Sue notice from the

   24    DFEH, which is attached hereto as Exhibit A.

   25                                           FIRST CAUSE OF ACTION

   26                              RETALIATION (GOVT CODE §§ 12940 ET SEQ.)

   27                                              (Against All Defendants)

   28 121        Plaintiff realleges and incorporates herein by reference each of the allegations set forth above as if

                                                       4
                                COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL




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    1   fully set forth herein.

    2 1122      At all times herein mentioned, the FEHA, embodied in Government Code section 12940 et seq.,

    3   was in full force and effect. The FEHA prohibits employers from retaliating against employees who

    4   engage in protected activity. FEHA, as set forth in California Government Code section 12940(h),

    5   prohibits an employer from retaliating against an employee "because the person has filed a complaint,

    6   testified, or assisted in any proceeding under this part." CAL. Gov'T CoDe § 12940(h).

    7   23.     Plaintiff believes and thereon alleges that Defendants were qualified employers subject to the

    8   requirements of the FEHA.

    9   24.     On May 10, 2021, Plaintifftestified or assisted in a proceeding under California's FEHA in a

   10   deposition in Mr. Williams' FEHA-based,race discrimination and harassment lawsuit. Plaintiff is

   11   informed and believes and based thereon alleges that his testimony in that deposition was protected activity

   12   pursuant to California Government Code section 12940(h).

   13   25.     After providing his testimony, Boeing terminated Plaintiff's employment. Plaintiff's termination

   14   was the result of Boeing retaliating against him for the testimony he provided in his co-worker's race

   15   discrimination and harassment case.

   16   26.     The causal nexus between his deposition.testimony and the termination decision is clear. Indeed,

   17   Plaintiff was told by his superiors at Boeing that he was being terminated as a direct result of his .

   18   testimony.

   19   27.     As a direct and proximate result of Defendants' unlawful retaliation, Plaintiff has sustained, and

   20   continues to sustain, damages in the form of lost income and emotional distress in an amount to be

   21   ascertained according to proof at trial.

   22   28.     Moreover, Plaintiff is entitled to attorneys' fees and costs for bringing suit alleging these violations.

   23   Plaintiff has incurred and continues to incur legal expenses and attorneys' fees as a result of his FEHA

   24   claims against Defendants. Plaintiff is presently unaware of the precise amount of these expenses and fees,

   25   but seeks an award of attorneys' fees and costs according to proof at trial.

   26   29.     Defendants' unlawful retaliation.against Plaintiff in violation of the FEHA was willful and

   27   malicious and in conscious disregard of Plaintiffs rights with the intent to vex, injure and annoy him, such

   28   as .to constitute oppression, fraud and/or malice under California Civil Code section 3294. Defendaiits'

                                                         5
                                  COMPLAINT FOR DAMAGES AND DEMAIVD FOR JURY TRIAL




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    1    conduct, as described above, was carried out by its officers, directors and or/managing agents, whose

    2    conduct was knowingly authorized and ratified by the officers, directors and/or managing agents of

    3    Defendants. Accordingly, Plaintiff is entitled to punitive damages in an amount appropriate to punish and

    4    make an example of Defendants.

    5                                         SECOND CAUSE OF ACTION

    6                  WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY

    7                                              (Against All Defendants)

    8    30.     Plaintiff realleges and incorporates herein by reference each of the allegations set forth above as if

    9 I fully set forth herein.
   10    31.     At all times herein mentioned, the California's FEHA, embodied in Government Code section

   11    12940 was in full force and effect. The FEHA prohibits employers from retaliating against employees who

   12 I engage in protected activity.
   13    32.     Plaintiff believes and thereon alleges that Defendant is a qualified employer subject to the

   14    requirements of FEHA.

   15    33.     On or about September 15, 2021, Defendant violated public policy by acting arbitrarily and

   16    capriciously and terminating Plaintiff in violation of Plaintiff's rights under FEHA.

   17    34.     The actual reason for Plaintiff s termination was based upon, among other things, the fact that on

   18    May 10, 2021, Plaintiff testified in a deposition in Mr. Williams' FEHA-based race discrimination and

   1.9   harassment lawsuit. Plaintiff is iriformed and believes and based thereon alleges that his testimony in that

   20    deposition was protected activity pursuant to Califomia Government Code section 12940(h).

   21    35.    Plaintiff believes and thereon alleges that any claims of misconduct or performance issues as

   22    Defendants' basis for any disciplinary action against Plaintiff are pretextual and meant to disguise the

   23    discriminatory reasons for his ternunation.

   24    36.    As a direct and proximate result of Defendant, and each of their wrongful acts, Plaintiff was

   25    terminated on or about September 15, 2021.

   26    37.    As a direct and proximate result of Defendant, and each of their wrongfal acts, Plaintiff has been

   27    damaged in the loss of her employment benefits and the reasonable expectation of his continued

   28    employment.

                                                         6
                                  COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL




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    .1    38.     As a further direct and proximate result of Defendant, and each of their wrongful acts, including the

    2     resulting and wrongful termination as aforesaid, Plaintiff has sustained and continues to sustain severe and

    3     serious injury, all to the Plaintiffs damage in a sum within the jurisdiction of this Court and to be shown

    4     according to proof at the time of trial.

    5     39.     As a further direct and proximate result of Defendant', and each of their wrongful acts, Plaintiff has

    ~6    been subjected to embarrassment and humiliation and has suffered and will continue to suffer, mental and

    7     emotional distress and discomfort all to his detriment and damage.

    8     40.     Defendants' unlawful retaliation against Plaintiff in violation of the FEHA was willful and

    9     malicious and in conscious disregard of Plaintiff's rights with the intent to vex, injure and annoy him, such

   10     as to constitute oppression, fraud and/or malice under California Civil Code section 3294. Defendants'

   11.    conduct, as described above, was carried out by its officers, directors and or/managing agents, whose

   12     conduct was knowingly authorized and ratified by the officers, directors and/or managing agents of

   13     Defendants. Accordingly, Plaintiff is entitled to punitive damages in an amount appropriate to punish and.

   14     make an example of Defendants.

   15                                            THIRD CAUSE OF ACTION
   16     UNLAWFUL BUSINESS PRACTICES (BUSINESS & PROFESSIONS CODE §§ 17200 ET SEQ.)

   17                                                (Against All Defendants)

   18 141         Plaintiff realleges and incorporates herein by reference each of the allegations set forth above as if

   19     fully set forth herein.

   20     42.     Plaintiff is informed and believes and based thereon alleges that Defendants, and each of them,

   21     engaged in unlawful, unfair, and fraudulent business practices as described herein, including but not

   22     limited to: violation of Labor Code sections 1197.5 and 1102.5, and engaging in acts of retaliation in

   23     violation of the FEHA (Govt. Code §§ 12940 et seq.)

   24     43.     As a direct and proximate result of Defendants' and each of their unlawful, unfair and fraudulent

   25     business practices, Plaintiff has lost money in an amount that is presently uncertain but will be ascertained

   26     according to proof at trial. Accordingly, Plaintiff seeks to enjoin Defendants, and each of them, from

   27 , fixrther unlawful, unfair, and fraudulent business practices.
   28 I           WHEREFORE, Plaintiff prays for judgment as follows:

                                                                 7
                                    COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL




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     1             1. General and compensatory damages including all lost wages, in a sum according to proof at
     2                time of trial;
     3            2. Consequential and incidental damages in a sum according to proof at time of trial;
     4            3. Damages for meiital and emotional distress in a sum according to proof at time of trial;
     5            4. General and special damages in a sum according to proof at time of trial;
     6            5. Penalties in a sum according to proof at time of trial;

     7            6. Payment of Plaintiff's reasonable and actual attorney fees in a sum according to proof at
     8                time of trial;

     9            7. For costs of suit herein incurred;

    10            S. Injunctive relief;

    11            9. Pre judgment interest at the legal prevailing rate;

    12            10. Punitive and exemplary damages in a sum according to proof at time of trial;

    13            11. Statutory penalties; and

    14            12. For such other and further relief as the Court deems just and proper.

    15   Dated: May 19, 2022                 AITKEN CAMPBELL HEIKAUS WEAVER, LLP

    16
    17                                       By     &4'~J
                                                    Darren YCampbell
    18                                              Chris Heikaus Weaver
                                                    Attorney for Plaintiff                                        !
    19                                              MICHAEL GRIZZLE
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         1                                     DEMAND FOR JURY TRIAL

         2        Plaintiff hereby demands trial of his claims by jury to the extent authorized by law.

~       3. Dated: May 19, 2022                  AITK,EN CAMPBELL HEIKAUS WEAVER, LLP

         4
                                                By                   ~
         5
                                                        Darren J. ampbell
         6                                              Chris Heikaus Weaver
                                                        Attorney for Plaintiff
         7                                              MICHAEL GRIZZLE
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    14                              EXHIBIT A
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                      COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL




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               STATE OF CALIFORNIA I Business, Consumer Services and Housina Aaencv                                   GAVIN NEWSOM. GOVERNOR

               DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                                    KEVIN KISH, DIRECTOR

               2218 Kausen Drive, Suite 100 1 Elk Grove I CA 195758
               (800) 884-1684 (Voice) 1(800) 700-2320 (TTY) I Califomia's Relay Service at 711
               http:!lwww.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov


        April 11, 2022

        Michael Grizzle



        RE:    Notice to Complainant
               DFEH Matter Number: 202204-16666211
               Right to Sue: Grizzle / The Boeing Company

        Dear Michael Grizzle:

        Attached is a copy of your complaint of discrimination filed with the Department of Fair
        Employment and Housing (DFEH) pursuant to the California Fair Employment and
        Housing Act, Government Code section 12900 et seq. Also attached is a copy of your
        Notice of Case Closure and Right to Sue.

        Pursuant to Government Code section 12962, DFEH will not serve these
        documents on the employer. You must serve the complaint separately, to all named
        respondents. If you do not have an attorney, you must serve the complaint yourself.
        Please refer to the attached Notice of Case Closure and Right to Sue for information
        regarding filing a private lawsuit in the State of California. A courtesy "Notice of Filing of
        Discrimination Complaint" is attached for your convenience.

        Be advised that the DFEH does not review or edit the complaint form to ensure that it
        meets procedural or statutory requirements.

        Sincerely,


        Department of Fair Employment and Housing




                                                                                                 Form DFEH-ENF 80 RS (Revised 02/22)




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               STATE OF CALIFORNIA I Business Consumer Services and Housfna Aaencv                                    GAVIN N WSnnn GOVERNOR

               DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                                     KEVIN KISH, DIRECTOR

              2218 Kausen Drive, Suite 100 1 Elk Grove I CA 195758
              (800) 884-1684 (Voice) 1(800) 700-2320 (TTY) I California's Relay Service at 711
              http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov


        April 11, 2022

        RE:   Notice of Filing of Discrimination Complaint
              DFEH Matter Number: 202204-16666211
              Right to Sue: Grizzle / The Boeing Company

        To AII Respondent(s):

        Enclosed is a copy of a complaint of discrimination that has been filed with the
        Department of Fair Employment and Housing (DFEH) in accordance with Government
        Code section 12960. This constitutes service of the complaint pursuant to Government
        Code section 12962. The complainant has requested an authorization to file a lawsuit. A
        copy of the Notice of Case Closure and Right to Sue is enclosed for your records.

       This matter may qualify for DFEH's Small Employer Family Leave Mediation
       Pilot Program. Under this program, established under Government Code
       section 12945.21, a small employer with 5-19 employees, charged with violation
       of the California Family Rights Act, Government Code section 12945.2, has the
       right to participate in DFEH's free mediation program. Under this program both
       the employee requesting an immediate right to sue and the employer charged
       with the violation may request that all parties participate in DFEH's free
       mediation program. The employee is required to contact the Department's
       Dispute Resolution Division prior to filing a civil action and must also indicate
       whether they are requesting mediation. The employee is prohibited from filing a
       civil action unless the Department does not initiate mediation within the time
       period specified in section 12945.21, subdivision (b) (4), or until the mediation is
       complete or is unsuccessful. The employee's statute of limitations to file a civil
       action, including for all related claims not arising under section 12945.2, is tolled
       from the date the employee contacts the Department regarding the intent to
       pursue legal action until the mediation is complete or is unsuccessful. You may
       contact DFEH's Small Employer Family Leave Mediation Pilot Program by
       emailing DRDOnlinerequests@dfeh.ca.gov and include the DFEH matter
       number indicated on the Right to Sue notice.


       Please refer to the attached complaint for a list of all respondent(s) and their contact
       information.

       No response to DFEH is requested or required.

       Sincerely,




                                                                                                 Form DFEH-ENF 80 RS (Revised 02/22)




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                                                                                                                                   1N   rnVFRNOR
    a
    R   ~
        ~°;        DEPARTMENT OF FAIR EMPLOYMENT & HOUSING                                                                      KEVIN KISH,DIRECTOR
                   2218 Kausen Drive, Suite 100 1 Elk Grove I CA 195758
                   (800) 884-1684 (Voice) 1(800) 700-2320 (TTY) I California's Relay Service at 711
                   http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov



            Department of Fair Employment and Housing




                                                                                                      Form DFEH-ENF 80 RS (Revised 02/22)




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      ~.+•""`~+w.'       STATE OF CALIFORNIA I Business, Consumer Services and Housina Aaencv                                    GAVIN NEWSOM. GOVERNOR
     d
                                                                                                                                     KEVIN KISH, DIRECTOR
                         DEPARprMENiT O~F FAIR EMPLOYMENT 8c HOUSING
                                    te    E
      J       L      p   (800) 884-1684 (Voice) 1(800) 700-2320 (TTY) I California's Relay Service at 711
                         http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov



             April 11-, 2022

             Michael Grizzle


             RE:         Notice of Case Closure and Right to Sue
                         DFEH Matter Number: 202204-16666211
                         Right to Sue: Grizzle / The Boeing Company

             Dear Michael Grizzle: .

             This letter informs you that the above-referenced complaint filed with the Department of
             Fair Employment and Housing (DFEH) has been closed effective April 11, 2022
             because an immediate Right to Sue notice was requested.

             This letter is also your Right to Sue notice. According to Government Code section
             12965, subdivision (b), a civil action may be brought under the provisions of the Fair
             Employment and Housing Act against the person, employer, labor organization or
             employment agency named in the above-referenced complaint. The civil action must be
             filed within one year from the date of this letter.

             This matter may qualify for DFEH's Small Employer Family Leave Mediation
             Pilot Program. Under this program, established under Government Code section
             12945.21, a small employer with 5-19 employees, charged with violation of the
             California Family Rights Act, Government Code section 12945.2, has the right to
             participate in DFEH's free mediation program. Under this program both the
             employee requesting an immediate right to sue and the employer charged with
             the violation may request that all parties participate in DFEH's free mediation
             program. The employee is required to contact the Department's Dispute
             Resolution Division prior to filing a civil action and must also indicate whether
             they are requesting mediation. The employee is prohibited from filing a civil
             action unless the Department does not initiate mediation within the time period
             specified in section 12945.21, subdivision (b) (4), or until the mediation is
             complete or is unsuccessful. The employee's statute of limitations to file a civil
             action, including for all related claims not arising under section 12945.2, is tolled
             from the date the employee contacts the Department regarding the intent to
             pursue legal action until the mediation is complete or is unsuccessful. Contact
             DFEH's Small Employer Family Leave Mediation Pilot Program by emailing
             DRDOnlinerequests@dfeh.ca.gov and include the DFEH matter number
             indicated on the Right to Sue notice.




                                                                                                            Form DFEH-ENF 80 RS (Revised 02/22)




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             STATE OF CALIFORNIA I Business Consumer Servlces and Houslnc Aaencv                                     GAVIN NEWSOM GOVERNOR

                                                                                                                         KEVIN KISH, DIRECTOR
             DEPARTMENT OF FAIR EMPLOYMENT & HOUSING
             2218 Kausen Drive, Suite 100 1 Elk Grove I CA 195758
             (800) 884-1684 (Voice) 1(800) 700-2320 (TTY) I California's Relay Service at 711
             http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov


       To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
       Opportunity Commission (EEOC) to file a complaint within 30 days of receipt of this
       DFEH Notice of Case Closure or within 300 days of the alleged discriminatory act,
       whichever is earlier.

       Sincerely,


       Department of Fair Employment and Housing




                                                                                                Form DFEH-ENF 80 RS (Revised 02/22)




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        `n                       COMPLAINT OF EMPLOYMENT DISCRIMINATION
                                       BEFORE THE STATE OF CALIFORNIA
        2                      DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
    .                          Under the California Fair Employment and Housing Act
        3
                                           (Gov. Code, § 12900 et seq.)
        4
             In the Matter of the Complaint of
        5     Michael Grizzle                                                   DFEH No. 202204-16666211

        6                                    Complainant,
             vs.
        7

        8      The Boeing Company
               5301 Bolsa Ave.
        9      Huntington Beach, CA 92647

    10                                        Respondents

    11

    12
              1.Respondent The Boeing Company is an employer subject to suit under the California Fair
    13        Employment and Housing Act (FEHA) (Gov. Code, § 12900 et seq.).

    14

    15        2. Complainant Michael Grizzle, resides in the City of , State of .

    16
             3. Complainant alleges that on or about September 15, 2021, respondent took the
    17       following adverse actions:

    18 Complainant experienced retaliation because complainant reported or resisted any form
       of discrimination or harassment, participated as a witness in a discrimination or harassment
    19
       complaint and as a result was terminated, asked impermissible non-job-related questions,
       denied any employment benefit or privilege.
    20

    21
       Additional Complaint Details: Michael Grizzle began working for McDonnell Douglas
    22 (which later merged with The Boeing Company) at age 21 as a Plant Protection Officer/Fire
       Fighter in 1995. Mr. Grizzle's performance as a fire fighter was always exceptional. During
    23 his employment with Boeing, Mr. Grizzle never received a negative performance review.
       Indeed, Mr. Grizzle achieved the highest seniority possible as a Fire Fighter in 2010.
    24

    25

    26                                                        -1-
                                            Complaint — DFEH No.
    27
             I Date Filed: April 11, 2022
    28
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         Mr. Grizzle and Mark Anthony Williams were co-workers since approximately 1995 and
         worked the same shift together from 2010-2017. Mr. Williams was originally employed by
     2   Boeing as a Plant Protection/Security Officer and then in approximately 2010 continued his
         employment as a Fire Protection Officer.
     3
       Unbeknownst to Mr. Grizzle, beginning in around 2014, Mr. Williams began to
    .4 surreptitiously, and without the consent of all involved, record locker room-and lunchtime
       conversations, including private conversation in which Mr. Grizzle was a participant. By
     5 recording these conversations, Mr. Williams violated Boeing's policies, which should have
       resulted in his immediate termination. Even -though Mr. Williams admitted to violating
     6
       Boeing's policy, Mr. Grizzle is informed that Mr. Williams was never even disciplined for his
     7 actions.

     8 In early 2019, Mr. Grizzle was informed that Mr. Williams had made a complaint to Boeing
       regarding race-based discrimination and harassment. In March 2019, Boeing conducted an
     9 investigation into Mr. Williams' allegations. Mr. Grizzle fully cooperated in Boeing's
       investigation. Mr. Grizzle did his best to provide Boeing with a full account of his
    10 recollections regarding the allegations made by Mr. Williams. At the time of his initial
       interview in March 2019, Mr. Grizzle did not recall anyone ever using the "N" word or any
    11 derivation of that word in his presence in the workplace. Moreover, during the investigation,
       Boeing did not provide Mr. Grizzle with any documentation or recordings that would assist
    12 Mr. Grizzle in refreshing his recollection of the use of such language in the workplace. On
       August 8, 2019, Boeing provided Mr. Grizzle with a written warning concerning his behavior
    13 vis-a-vis Mr. Williams based on its March 2019 investigation.

    14 Mr. Williams filed a lawsuit against Boeing on August 6, 2019. As Mr. Williams' case
       continued through litigation, Boeing's counsel interviewed Mr. Grizzle on or about January
    15
       15, 2020. After participating in that intenriew with Boeing's counsel in connection with Mr.
                        claims, Boeing later disciplined Mr. Grizzle by placing him on a leave of
    16 Williams' FEHA
       absence without pay for two days issued on June 12, 2020.
    17
       During the course of Mr. Williams' lawsuit, Mr. Grizzle learned from Boeing's attorneys that
    18 he  was to be deposed by Mr. Williams' counsel regarding his percipient knowledge of the
       facts underlying Mr. Williams' claims. The week prior to the deposition, in early May 2021,
    19 Mr. Grizzle and other co-workers that were to be deposed by Mr. Williams' counsel were
       made aware that Mr. Williams had surreptitiously made audio and video recordings of their
    20 private conversations while at work in Boeing's Huntington Beach facility.

    21 During this meeting, Boeing's counsel played the audio recordings for Mr. Grizzle and his
       co-workers and coached Mr. Grizzle and his co-workers on how to testify at deposition.
    22 However, while Mr. Grizzle and his co-workers listened to the audio recordings multiple
       times, it was extremely difficult and confusing to ascertain who was saying what in the
    23 recordings and to determine who was present with respect to each of the recordings. On
       May 10, 2021, Mr. Williams' attorney deposed Mr. Grizzle. As required by the oath that he
    24
       took, Mr. Grizzle told the truth regarding his recollection of conversations and events that
    25 had occurred almost a decade previously. Indeed, when Mr. Williams' attorneys asked him

    26                                                 -2-
                                      Complaint — DFEH No. 202204-16666211
    27
         Date Filed: April 11, 2022
    28
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     1 specific questions regarding topics from the recordings that Mr. Grizzle had only recently
       heard, Mr. Grizzle testified truthfully regarding the substance of those recordings. Following
     2 the completion of his deposition, Boeing terminated Mr. Grizzle's employment a couple of
       months later, on September 15, 2021, and as a direct result of his deposition testimony.
     3
       Mr. Grizzle has suffered damages in the form of lost wages and benefits, emotional distress,
     4 and punitive damages for Boeing's unlawful and malicious acts against him. Mr. Grizzle will
     5 also be entitle to attorneys' fees for his claims.

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                                               — DFEH No. 202204-16666211
    27
           Date Filed: April 11, 2022
    28
                                                                           Form DFEH-ENF 80 RS (Revised 02/22)




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     1 VERIFICATION

     2   I, Darren J. Campbell, am the Attorney in the above-entitled complaint. I have read
     3   the foregoing complaint and know the contents thereof. The matters alleged are
         based on information and belief, which I believe to be true.
     4
       On April 11, 2022, 1 declare under penalty of perjury under the laws of the State of
     5 California that the foregoing is true and correct.

     6                                                                      Anaheim, California
     7

     8
                                                                    ,
     9

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    26                                                -4-
                                      Complaint— DFEH No. 202204-16666211
    27
         Date Filed: April 11, 2022
    28
                                                                        Form DFEH-ENF 80 RS (Revised 02/22)




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             Electronically Filed by Superior Court of California, County of Orange, 05/19/2022 05:26:29 PM.
   30-2022-01260527-CU-WT-NJC - ROA # 3- DAVID H. YAMASAKI, Clerk of the Court By Katie Trent, Deputy Clerk.
         ATTORNEY ORPARTY WITHOUT ATTORNEY fNama. Sfafo Barn(unAen and addiess):
        - Darren J. Campbell,  Bar No. 223088                                                                                              FOR COURT USE ONLY
             Aitken Campbell Heikaus Weaver, LLP
             2030 Main St., Suite 1300
             Irvine, Califomia 92614
                 TELEPHONE NO.: ~ 949) 236-4626                          FAx No.: (949) 608-1562
         ATTORNEY FOR (Nante):         lalntlflC,
                                      MICHAEL GRIZZLE
         UPERIOR COURT OF CALIFORNIA, COUNTY OF
                                                Orange
                  STREETADDRESS
                                      Orange County Superior Court
                 MAILINGADDRESs       North Justice Center
                 CITY AND ZIP CODE    1275 North BerkeleyAvenue
                                      Fullerton, CA 92832
                    BRANCH NAME
         CASE NAME:
         Michael Grizzle v. The BoeinQ Companv, et al
                 CIVIL CASE COVER SHEET                                    Complex Case Designation                     CASENUMBER:
       []✓         Unlimited     Q            Limited                                                    30-2022-o I260527-t;U-VT'-NJC
                   (Amount                    (Amount      ~     Counter       Q      Joinder
                   demanded                   demanded is Filed with first appearance by defendant  JuoGE: judge Donald F. C,afFney
                   exceeds $25,000)           $25,000 or less) (Cal. Rules of Court, rule 3.402)     DEPT:
                                        Items 9-6 below must be completed (see i(7structions on pa9e 2).
             Check one box below for the case type that best describes this case:
             Auto Tort                                               Contract                                   Provisionally Complex Civil Litigation
             ~        Auto (22)                                      0     Breach of contra ct/warra nty (06)   (Cal. Rules of Court, rutes 3.400-3.403)
             0        Uninsured motorist (46)                        0    Rule 3.740 collections (09)           0     Antitrust/Trade regulation (03)
             Other PI/PD/WD (Personal Injury/Property                0     Other collections (09)               ~     Construction defect (10)
             Damage/Wrongful Death) Tort
                                                                          Insurance coverage (18)               ~     Mass tort (40)
             Q       Asbestos (04)
                                                                     Q  Other contract (37)                     Q     Securities litigation (28)
             ~       Product liability (24)
             0       Medical malpractice (45)
                                                                  Real Property                                 Q     Environmental/Toxic tort (30)
                                                                  O
             Q     Other PI/PD/WD (23)
                                                                        Eminent domain/Inverse
                                                                        condemnation (14)
                                                                                                                0      Insurance coverage claims arising from the
                                                                                                                      above listed provisionally comptex case
             Non-PI/PDNUD (Other) Tort                            0     Wrongful eviction (33)                        types (41)
          0          Business tort/unfair business practice (07) ~    Other real property (26)                  Enforcement of Judgment
          Q          Civil rights (08)                           Unlawful Detainer                              0     Enforcement of judgment (20)
         0           Defamation (13)                             0    Commercial (31)                           Miscellaneous Civil Complaint
         0           Fraud (16)                                           Residential (32)                      ~     RICO (27)
         ~           Intellectual property (19)                           Drugs (38)                            Q     Other conlplaint (not specified above) (42)
         0    Professional negligence (25)                       Judicial Review
                                                                                                                Miscellaneous Civil Petition
         0    Other non-PI/PD/WD tort (35)                       0        Asset forfeiture (05)
         Employment                                              0        Petition re: arbitration award (11)
                                                                                                                0     Partnership and corporate governance (21)
                                                                                                                0     Other petition (not specified above) (43)
         0✓          Wrongful termination (36)                   0        Writ of mandate (02)
                     Other employment (15)                       n        Other iuciicial review
    2. This case I_j is       I vl I is not    complex under rule 3.400 of the California Rules of Court. If the case is complex,
       factors requiring exceptional judicial nlanagement:                                                                        mark the
         a. Q           Large number of separately represented parties                 d.          Large number of witnesses
          b. []         Extensive motion practice raising difficult or novel           e. 0       Coordination with related actions pending in one or more courts
                        issues that will be time-consuming to resolve                             in other counties, states, or countries, or in a federal court
         c. Q           Substantial amount of documentary evidence                     f. 0       Substantial postjudgment judicial supervision
   3. Remedies sought (check all that apply): a.0 tronetary b.~         ✓ nonmonetary; declaratory or injunctive relief                                         ✓
                                                                                                                                                            c. ~punitive
   4: Number of causes of action (specify): three (3)
   5. This case =       is    ✓ is not a class action suit.
                             [~]
   6. If there are any known related cases, file and serve a notice of related case. (Yo
                                                                                         ay use f r     M 015.)
   Date; May 19, 2022
   Darren J. Camubell                                                                         1

      • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding
                                                                                                    (except small claims cases or cases filed
        under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of
                                                                                                        Court, rule 3.220.) Failure to file may result
        in sanctions.
     • File this cover sheet in addition to any cover sheet required by local court rule.
     ~ If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a
                                                                                                                  copy of this cover sheet on all
        other parties to the action or proceeding.
     • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet
                                                                                                     will be used for statistical purposes on~.
                                                                                                                                                                          a4e 1 of 2
   Fonn Adoplad forMandelory Use
     Judicial Council of California                              CIVIL CASE COVER SHEET                                  Cal. Rules ofCourt, rules 2.30, 3.220.3.400-3.403, 3.740;
     c6d-010 [Rev. July 1, 20071                                                                                                 Cal. Standards of Judiclal Administration, sld. 3.10
                                                                                                                                                              wvw.courtinfo.ri.gov




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                                            INSTRUCTIONS ON HOW TO COMPLETE THE COVER                                                               CM-010
          To Plaintiffs and Others Filing First Papers. If you are                                                 SHEET
                                                                            filing a first paper (for example, a complaint) in a civil
          complete and file, along with your first paper, the Civil Case                                                                    case, you must
                                                                           Cover Sheet contained on page 1. This information will
          statistics about the types and numbers of cases filed. You                                                                     be used to compile
                                                                          must complete items 1 through 6 on the sheet. In item
          one box for the case type that best describes the case.                                                                        1, you must check
                                                                      If the case fits both a general and a more specific type of
         check the more specific one. If the case has mu[tiple causes of                                                               case listed in item 1,
                                                                                 action, check the box that best indicates the primary cause
         To assist you in completing the sheet, examples of the                                                                                    of action.
                                                                     cases that belong under each case type in item 1 are
         sheet must be filed only with your initial paper. Failure to file                                                        provided below. A cover
                                                                            a cover sheet with the first paper filed in a civil case may
         its counsel, or both to sanctions under rules 2.30 and 3.220                                                                       subject a party,
                                                                          of the California Rules of Court.
        To Parties in Rule 3.740 Collections Cases. A"collections
                                                                                case" under rule 3.740 is defined as an action for recover
       ,owed in a sum stated to be certain that is not more than $25,000                                                                         y of money
                                                                                 , exclusive of interest and attorney's fees, arising from a
        which property, services, or money was acquired on credit.                                                                            transac
                                                                          A collections case does not include an action seeking the followin tion in
        damages, (2) punitive damages, (3) recovery of real                                                                                        g: (1) tort
                                                                      property, (4) recovery of personal property, or (5)
        attachment. The identification of a case as a rule 3.740                                                                    a prejudgment writ of
                                                                        collections case on this form means that it will be exempt
        time-for-service requirements and case management rules,                                                                          from the general
                                                                           unless a defendant files a responsive pleading. A rule
        case will be subject to the requirements for service and obtainin                                                                 3.740 collections
                                                                              g a judgment in rule 3.740.
        To Parties in Complex Cases. In complex cases only, parties
                                                                                  must also use the Civil Case Cover Sheet to designate
        case is complex. If a plaintiff believes the case is complex                                                                            whether the
                                                                         under rule 3.400 of the California Rules of Court, this
        completing the appropriate boxes in items 1 and 2. If a plaintiff                                                             must be indicated by
                                                                              designates a case as complex, the cover sheet must be
       complaint on all parties to the action. A defendant may                                                                              served with the
                                                                      fife and serve no later than the time of its first appeara
       plaintiffs designation, a counter-designation that the case                                                                    nce a joinder in the
                                                                       is not complex, or, if the plaintiff has made no designa
       the case is complex.                                                                                                        fion, a designation that
                                                                   CASE TYPES AND EXAMPLES
       Auto Tort                                          Contract
          Auto (22)-Personal Injury/Property                                                                  Provisionally Complex Clvil Litigation (Cal.
                                                             Breach of ContractlWarranty (06)                 Ru{es of Court Rules 3.400-3.403)
              Damage/Wrongful Death                              Breach of Rental/Lease                             AntitrustlT'rade Regulation (03)
          Uninsured Motorist (46) (if the                            Contract (not unlawful detainer                Construction Defect (10)
              case involves an uninsttred                                  or wrongful eviction)                   Claims Involving Mass Tort (40)
              motorist claim subJect to                           ContracUWarranty Breach-Seller                   Securities Litigation (28)
                 arbitration, check this item                        Plaintiff (not fraud or negligence)           Environmental/Toxic Tort (30)
                 instead ofAuto)                                  Negligent Breach of Contract/
      Other PI/PD/WD (Personal Injury!                                                                             Insurance Coverage Claims
                                                                     Warranty                                           (arising from provisionally complex
      Property Damage/Wrongful Death)                             Other Breach of ContractlWarranty
      Tort                                                                                                              case type listed above) (41)
                                                             Collections (e.g., money owed, open               Enforcement of Judgment
           Asbestos (04)                                         book accounts) (09)                              Enforcement of Judgment (20)
               Asbestos Property Damage                          Collection Case-Seller Piaintiff                     Abstract of Judgment (Out of
               Asbestos Personal [njury/                         Other Promissory Note/Collections                        County)
                   Wrongful Death                                     Case
                                                             Insurance Coverage (not provisionally                    Confession of Judgment (non-
           Product Liability (not asbestos or
                                                                 cornplex) (18)                                             domestic relations)
                 toxic%nvironmental) (24)
         Medical Malpractice (45)                                                                                     Sister State Judgment
                                                                 Auto Subrogation
              Medical Malpractice-                                                                                    Administrative Agency Award
                                                                 Other Coverage
                                                                                                                         (not unpaid taxes)
                   Physicians & Surgeons                    Other Contract (37)
              Other Professional Health Care                                                                          Petition/Certification of Entry of
                                                                 Contractual Fraud                                       Judgment on Unpaid Taxes
                   Malpractice                                   Other Contract Dispute                               Other Enforcement of Judgment
        Other PI/PD/WD (23)                              Real Property                                                     Case
             Premises Liability (e.g., s[ip                 EminentDomain/Inverse                             Miscellaneous Civil Complaint
                  and fall)                                      Condemnation (14)                               RICO (27)
             Intentional Bodily Injury/PDMlD                Wrongful Eviction (33)                               Other Complaint (not specified
                  (e.g., assault, vandalism)                Other Real Property(e.g., qulet title) (26)                above) (42)
             Intentional Infliction of
                                                                Writ of Possession of Real Property                   Declaratory Relief On[y
                  Emotional Distress                                                                                  Injunctive Relief Only (non-
                                                                Mortgage Foreclosure
             Negligent Infliction of
                                                                Quiet Title                                                harassmen!)
                  Emotional Distress
                                                                Other Real Property(nol eminent                       Mechanics Lien
            Other PIlPDIWD
                                                                 domain, tandlord/tenant, or                          Other Commercial Complaint
    Non-PI/PD/WD (Other) Tort
                                                                 foreclostrre)                                            Case (non-tott/non-cornplex)
        Business TorUUnfair Business                    Unlawful Detainer                                             Other Civil Complaint
           Practice (07)                                   Commercial (31)                                                (non-tort/i~on-complex)
       Civil Rights (e.g., discrimination,                                                                    Miscellaneous Civil Petition
                                                           Residential (32)
           fa[se arrest) (not civil                                                                              Partnership and Corporate
                                                           Drugs (38) (if the case involves illegal
            harassment) (08)                                                                                          Governance (21)
                                                               drugs, check this item; otherwise,
       Defamation (e.g., slander, libel)                                                                         Other Petition (not specified
                                                              report as Commercial orResidential)
                (13)                                    Judicial Review                                               above) (43)
         Fraud (16)                                                                                                   Civil Harassment
                                                           Asset Forteiture (05)
         Intellectual Property (19)                                                                                  Workplace Violence
                                                           Petition Re: Arbitration Award (11)
         Professional Negligence (25)                                                                                Elder/DependentAdult •
                                                           Writ of Mandate (02)
             Legal Malpractice                                 Writ-Administrative Mandamus                               Abuse
             Other Professional Malpractice                    Writ-Mandamus on Limited Court                        Election Contest
                  (not medical or tegal)                                                                             Petition for Name Change
       Other Non-PIlPD1WD Tort ()                                  Case Matter
                                35                             Writ-Other Limited Court Case                         Petition for Relief From Late
   Employment                                                                                                             Claim
      Wrongful Termination (36)                                    Review
                                                                                                                     Other Civi[ Petition
      Other Employment (15)                                Other Judicial Review (39)
                                                              Review of Health Officer Order
                                                              Notice of Appeal-Labor
                                                                  CommissionerAppeals
   CM-010 [Rev. July 1. 20071
                                                           CIVIL CASE COVER SHEET                                                                   Page2of2




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                                                                                                         FOR COURT USE ONLY
   SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
   STREET ADDRESS: 1275 N. Berkeley Ave
   MAILING ADDRESS: 1275 N. Berkeley Ave                                                                    FI LE®
                                                                                                     StlPERiOR COURTOFCALlFORNIA
   CITY AND ZIP CODE: Fullerton 92838                                                                      COilNTYOFORANGE
   BRANCH NAME: North Justice Center
   PLANTIFF: Michael Grizzle
                                                                                                        May 20, 2022
   DEFENDANT: The Boeing Company
                                                                                                            Clerk of the Court
   Short Title: GRIZZLE VS. THE BOEING COMPANY                                                           By: KatieTrent, Deputy




                                                                                             CASE NUMBER:
                                   NOTICE OF HEARING                                         30-2022-01260527-CU-WT-CJC
                         CASE MANAGEMENT CONFERENCE


     Please take.notice that a(n), Case Management Conference has been scheduled for hearing
     on 10/25/2022 at 09:00:00 AM in Department N16 of this court, located at North Justice
     Center.


     PlaintifP(s)/Petitioner(s) to provide notice to all defendant(s)/respondent(s). Parties who file pleadings
     ihat add new parties to the proceeding must provide notice of the Case Management Conference to the
     newly added parties.


     Ll"IPORT_~1TT: Prior to your hearinff date= please clieck the Coirt's 1~v=ebsite for the most current instructions
     regarding how to appear for your hearina and access sen~ices that are available to answer your questions.
     Civil '-Matters - htt,.y~s.rr'i-tqz7xy.occourts_orglme:ctia-relations;'cil~-il.htinl
     Probatz,'Nmental Health -                                        edia-relationsr``t)robate-mental-health_html
     _~ppellate Dicision - https_r`,"tit ~-iRt                               ions."`appeals-records.html

     L1FJEP0RTA!\TE: -Antes de la fecha de su audiencia, cisite el sitio web de la Corte para saber cuales son las
     instruc.ciones nias actuales para partqcipar en la atidiencia y tener acceso a los sen,icios disponi6les para
     responder a sus prevuntas.
     Casos Ci47iles - httt)s:i~iy~-kvilr.ocCoilrt5.oro~'media-relations;`civil_lttml
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                                                 Clerk of the Court, By:    I(~~~ ~2~                                             , Deputy

                                                        NOTICE OF HEARING                                                          Pa9e' 1




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     SUPERIOR COURT OF CALIFORNIA, COUNTY OFORANGE
     North Justice Center
     1275 N. Berkeley Ave
     Fullerton 92838

     SHORT TITLE: GRIZZLE VS. THE BOEING COMPANY



                                                                                              CASE NUMBER:
              CLERK'S CERTIFICATE OF SERyICE BY MAIL
                                                                                      30-2022-01260527-CU-WT-CJC

       I certify that I am not a party to this cause. I certify that a true copy of the above Notice of Hearing has been
       placed for collection and mailing so as to cause it to be mailed in a sealed envelope with postage fully prepaid
       pursuant to standard court practices and addressed as indicated below. The certification occurred at Fullerton ,
       California, on 05/20/2022. Following standard court practice the mailing will occur at Sacramento, California on
       05/23/2022.



                                            Clerk of the Court, by:   6d% 7vx-r                                           , Deputy
      AITKEN CAMPBELL HEIKAUS WEAVER, LLP
      2030 MAIN STREET # 1300
      IRVINE, CA 92614




                                                                                                                                Page: 2
                                       CLERK'S CERTIFICATE OF SERVICE BY MAIL
  V31013a (June 2004)                                                                                  Code of Civil Procedure ,§ CCP1013(a)




                                                          Page 34
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                                      SUPERIOR COURT OF CALIFORNIA
                                           COUNTY OF ORANGE

                          ALTERNATIVE DISPUTE RESOLUTION (ADR)
                              .  INFORMATION PACKAGE


        NOTICE TO PLAINTIFF(S) AND/OR CROSS-COMPLAINANT(S):

       Rule 3.221(c) of the California Rules of Court requires you to serve a copy of the ADR
       Information Package along with the complaint and/or cross-complaint.

                                       California Rules of Court — Rule 3.221
                              Information about Alternative Dispute Resolution (ADR)

       (a) Each court shall make available to the plaintiff, at the time of filing of the complaint, an
       ADR Informatiori Package that includes, at a minimum, all of the following:

          (1) General information about the potential advantages and disadvantages of ADR and
          descriptions of the principal ADR processes.

          (2) Information about the ADR programs available in that court, including citations to any
          applicable local court rules and directions for contacting any court staff responsible for
          providing parties with assistance regarding ADR.

          (3) Information about the availability of local dispute resolution programs funded under the
          Dispute Resolutions Program Act (DRPA), in counties that are participating in the DRPA.
          This information may take the form of a list of the applicable programs or directions for
          contacting the county's DRPA coordinator.

          (4) An ADR stipulation form that parties may use to stipulate to the use of an ADR process.

       (b) A court may make the ADR Information Package available on its Web site as long as paper
       copies are also made available in the clerk's office.

       (c) The plaintiff must serve a copy of the ADR Information Package on each defendant along
       with the complaint. Cross-complainants must serve a copy of the ADR Information Package on
       any new parties to the action along with the cross-complaint.




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                                        SUPERIOR COURT OF CALIFORNIA
                                             COUNTY OF ORANGE

                                                    ADR Information

        Introduction.

        Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial.
        The courts and others offer a variety of Alternative Dispute Resolution (ADR) processes to help people
        resolve disputes without a trial. ADR is usually less formal, less expensive, and less time-consuming than
        a trial. ADR can also give people more opportunity to determine when and how their dispute will be
        resolved.

        BENEFITS OF ADR.

        Using ADR may have a variety of benefits, depending on the type of ADR process used and the
        circumstances of the particular case. Some potential benefits of ADR are summarized below.

        Save Time. A dispute often can be settled or decided much sooner with ADR; often in a matter of
        months, even weeks, while bringing a lawsuit to trial can take a year or more.

        Save Money. When cases are resolved earlier through ADR, the parties may save some of the money
        they would have spent on attorney fees, court costs, experts' fees, and other litigation expenses.

        Increase Control Over the Process and the Outcome. In ADR, parties typically play a greater role in
        shaping both the process and its outcome. In most ADR processes, parties have more opportunity to .tell
        their side of the story than they do at trial. Some ADR processes, such as mediation, allow the parties to
        fashion creative resolutions that are not available in a trial. Other ADR processes, such as arbitration;
        allow the parties to choose an expert in a particular field to decide the dispute.

        Preserve Relationships. ADR can be a less adversarial and hostile way to resolve a dispute. For
        example; an experienced mediator can help the parties effectively communicate their needs and point of
        view to the other side. This can be an important advantage where the parties have a relationship to
        preserve.

       Increase Satisfaction. In a trial, there is typically a winner and a loser. The loser is not likely to'be
       happy, and even the winner may not be completely satisfied with the outcome. ADR can help the parties
       find win-win solutions and achieve their real goals. This, along with all of ADR's other potential
       advantages, may increase the parties' overall satisfaction with both the dispute resolution process and the
       outcome.

       Improve Attorney-Client Relationships. Attorneys may also benefit from ADR by being seen as
       problem-solvers rather than combatants. Quick, cost-effective, and satisfying resolutions are likely to
       produce happier clients and thus generate repeat business from clients and referrals of their friends and
       associates.

       DISADVANTAGES OF ADR.

       ADR may not be suitable for every dispute.

       Loss of protections. If ADR is binding, the parties normally give up most court protections, including a
       decision by a judge or jury under formal rules of evidence and procedure, and review for legal error by an
       appellate court.


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        Less discovery. There generally is less opportunity to find out about the other side's case with ADR
        than with litigation. ADR may not be effective if it takes place before the parties have sufficient
        information to resolve the dispute.

        Additional costs. The neutral may charge a fee for his or her services. If a dispute is not resolved
        through ADR, the parties may have to put time and money into both ADR and a lawsuit.

        Effect of delays if the dispute is not resolved. Lawsuits must be brought within specified periods of
        time, known as statues of limitation. Parties must be careful not to let a statute of limitations run out while
        a dispute is in an ADR process.

        TYPES OF ADR IN CIVIL CASES.

        The most commonly used ADR processes are arbitration, mediation, neutral evaluation and settlement
        conferences.

        Arbitration. In arbitration, a neutral person called an "arbitrator" hears arguments and evidence from
        each side and then decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules
        of evidence are often relaxed. Arbitration may be either "binding" or "nonbinding." Binding arbitration
        means that the parties waive their right to a trial and agree to accept the arbitrator's decision as final.
        Generally, there is no right to appeal an arbitrator's decision. Nonbinding arbitration means that the.
        parties are free to request a trial if they do not accept the arbitrator's decision.

            Cases for Which Arbitration May Be Appropriate. Arbitration is best for cases where the parties
            want- another person to decide the outcome of their dispute for them but would like to avoid the
            formality, time, and expense of a trial. It may also be appropriate for complex matters where the
            parties want a decision-maker who has training or experience in the subject matter of the dispute.

            Cases for Which Arbitration May Not Be Appropriate. If parties want to retain control over how
            their dispute is resolved, arbitration, particularly binding arbitration, is not appropriate. In binding
            arbitration, the parties generally cannot appeal the arbitrator's award, even if it is not supported by the
            evidence or the law. Even in nonbinding arbitration, if a party requests a trial and does not receive a
            more favorable result at trial than in arbitration, there may be penalties.

        Mediation. In mediation, an impartial person called a"mediator" helps the parties try to reach a mutually
        acceptable resolution of the dispute. The mediator does not decide the dispute but helps the parties
        communicate so they can try to settle the dispute themselves. Mediation leaves control of the outcome
        with the parties.

            Cases for Which Mediation May Be Appropriate. Mediation may be particularly useful when
            parties have a relationship they want to presenre. So when family members, neighbors, or business
            partners have a dispute, mediation may be the ADR process to use. Mediation is also effective when
            emotions are getting in the way of resolution. An effective mediator can hear the parties out and help
            them communicate with each other in an effective and nondestructive manner.

            Cases for Which Mediation May Not Be Appropriate. Mediation may not be effective if one of the
            parties is unwilling to cooperate or compromise. Mediation also may not be effective if one of the
            parties has a significant advantage in power over the other. Therefore, it may not be a good choice if
            the parties have a history of abuse or victimization.

        Neutral Evaluation. In neutral evaluation, each party gets a chance to present the case to a neutral
        person called an "evaluator." The evaluator then gives an opinion on the strengths and weaknesses of
        each party's evidence and arguments and about how the dispute could be resolved. The evaluator is


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        often an expert in the subject matter of the dispute. Although the evaluator's opinion is not binding, the
        parties typically use it as a basis for trying to negotiate a resolution of the dispute.

            Cases for Which Neutral Evaluation May Be Appropriate. Neutral evaluation may be most
            appropriate in cases in which there are technical issues that require special expertise to resolve or
            the only significant issue in the case is the amount of damages.

            Cases for Which Neutral Evaluation May Not Be Appropriate. Neutral evaluation may not be
            appropriate when there are significant personal or emotional barriers to resolving the dispute.

        Settlement Conferences. Settlement conferences may be either mandatory or voluntary. In both types
        of settlement conferences, the parties and their attorneys meet with a judge or a neutral person called a
        "settlement officer" to discuss possible settlement of their dispute. The judge or settlement officer does
        not make a decision in the case but assists the parties in evaluating the strengths and weaknesses of the
        case and in negotiating a settlement. Settlement conferences are appropriate in any case where
        settlement is an option. Mandatory settlement conferences are often held close to the date a case is set
        for trial.

        ADDITIONAL INFORMATION.

        In addition to mediation, arbitration, neutral evaluation, and settlement conferences, there are other types
        of ADR, including conciliation, fact finding, mini-trials, and summary jury trials. Sometimes parties will try
        a combination of ADR types. The important thing is to try to find the type or types of ADR that are most
        likely to resolve your dispute.

        To locate a dispute resolution program or neutral in your community:
            •   Contact the California Department of Consumer Affairs, Consumer Information Center, toll free,
                1-800-852-5210
            •   Contact the Orange County Bar Association at (949) 440-6700
            •   Look in the Yellow Pages under "Arbitrators" or "Mediators"

        Free mediation services are provided under the Orange County Dispute Resolution Program Act (DRPA)
        For information regarding DRPA, contact:
            •    Community Service Programs, Inc. (949) 851-3168
            e    Orange County Human Relations (714) 834-7198

        For information on the Superior Court of California, County of Orange court ordered arbitration program,
        refer to Local Rule 360.

        The Orange County Superior Court offers programs for Civil Mediation and Early Neutral Evaluation
        (ENE). For the Civil Mediation program, mediators on the Court's panel have agreed to accept a fee of
        $300 for up to the first two hours of a mediation session. For the ENE program, members of the Court's
        panel have agreed to accept a fee of $300 for up to three hours of an ENE session. Additional
        information on the Orange County Superior Court Civil Mediation and Early Neutral Evaluation (ENE) pilot
        programs is available on the Court's website at www.occourts.org.




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     ATTORNEY OR PARTY WITHOUT ATTORNEY (Name & Address):                                                 FOR COURT USE ONLY




     Telephone No.:                                   Fax No. (Optional):
     E-Mail Address (Optional):


     SU6°ERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
     JUSTICE CENTER:
     ❑ Central - 700 Civic Center Dr. West, Santa Ana, CA 92701-4045
     ❑ Civil Complex Center - 751 W. Santa Ana Blvd., Santa Ana, CA 92701-4512
     ❑ Harbor-Laguna Hills Facility — 23141 Moulton Pkwy., Laguna Hills, CA 92653-1251
     ❑ Harbor — Newport Beach Facility — 4601 Jamboree Rd., Newport Beach, CA 92660-2595
     ❑ North —1275 N. Berkeley Ave., P.O. Box 5000, Fullerton, CA 92838-0500
     ❑ West — 8141 13'" Street, Westminster, CA 92683-0500


     PLAINTIFF/PETITIONER:

     DEFENDANT/RESPONDENT:
                                                                                                   CASE NUMBER:
     ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION


     Plaintiff(s)/Petitioner(s



     and defendant(s)/respondent(s),



     agree to the following dispute resolution process:

     ❑   Mediation

     ❑   Arbitration (must specify code)
                       ❑ Under section 1141.11 of the Code of Civil Procedure
                       ❑ Under section 1280 of the Code of Civil Procedure

     ❑   Neutral Case Evaluation

     The ADR process must be completed no later than 90 days after the date of this Stipulation or the date the case
     was referred, whichever is sooner.

     ❑ I have an Order on Court Fee Waiver (FW-003) on file, and the selected ADR Neutral(s) are eligible to provide
     pro bono services.

     ❑   The ADR Neutral Selection and Party List is attached to this Stipulation.

     We understand that there may be a charge for services provided by neutrals. We understand that participating in
     an ADR process does not extend the time periods specified in California Rules of Court rule 3.720 et seq.

     Date:
                                     (SIGNATURE OF PLAINTIFF OR ATTORNEY)              (SIGNATURE OF PLAINTIFF OR ATTORNEY)

     Date:
                                     (SIGNATURE OF DEFENDANT OR ATTORNEY)                  (SIGNATURE OF DEFENDANT OR ATTORNEY)




                           ALTERNATIVE DISPUTE RESOLUTION (ADR) STIPULATION
     Approved for Optional Use                                                                       California Rules of Court, rule 3.221
     L1270 (Rev. January 2010)




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